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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. DEMOPOLOS2015 OK 5Case Number: SCBD-6223Decided: 02/02/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 5, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION, Complainant,
v.
JAMES M. DEMOPOLOS, Respondent.
ORDER OF IMMEDIATE INTERIM SUSPENSION
¶1 The Oklahoma Bar Association (OBA), in compliance with Rule 7.1 and 7.2 of the Rules Governing Disciplinary Proceedings (RGDP), has forwarded to this Court certified copies of the Criminal Information, and Plea, in which James M. Demopolos entered a plea of guilty to one count of Obstructing an Officer, one count of Threatening an Act of Violence, and one count of Domestic Abuse (Assault and Battery), in violation of Okla. Stat. Tit. 21, §§ 540, 1378(B), and 644,respectively. The OBA also forwarded a certified copy of the Deferred Sentence. 
¶2 Rule 7.3 of the RGDP provides: "Upon receipt of the certified copies of Judgment and Sentence on a plea of guilty, order deferring judgment and sentence, indictment or information and the judgment and sentence, the Supreme Court shall by order immediately suspend the lawyer from the practice of law until further order of the Court." Having received certified copies of these papers and orders, this Court orders that James M. Demopolos is immediately suspended from the practice of law. James M. Demopolos is directed to show cause, if any, no later than February 13, 2015, why this order of interim suspension should be set aside. See RGDP Rule 7.3. The OBA has until February 24, 2015, to respond to James M. Demopolos should one be filed.
¶3 Rule 7.2 of the RGDP provides that a certified copy of a plea of guilty, an order deferring judgment and sentence, or information and judgment and sentence of conviction "shall constitute the charge and be conclusive evidence of the commission of the crime upon which the judgment and sentence is based and shall suffice as the basis for discipline in accordance with these rules." Pursuant to Rule 7.4 of the RGDP, James M. Demopolos has until March 12, 2015, to show cause in writing why a final order of discipline should not be imposed, to request a hearing, or to file a brief and any evidence tending to mitigate the severity of discipline. The OBA has until March 30, 2015, to respond.
DONE BY ORDER OF THE SUPREME COURT this 2nd day of February, 2015.
/S/CHIEF JUSTICE 
ALL JUSTICES CONCUR. 




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